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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Umicore Precious Metals Chemistry USA, )
LLC and Umicore AG & Co. KG,           )
                                       )
              Plaintiffs,              )
                                       )                         C.A. No. 1:22-cv-12232-GAO
       vs.                             )
                                       )
Trustees of Boston College,            )
                                       )
              Defendant.               )
____________________________________)

                                   JOINT STATUS REPORT

        Plaintiffs Umicore Precious Metals Chemistry USA, LLC and Umicore AG & Co. KG

(“Plaintiffs”) and Defendant Trustees of Boston College (“Defendant”) (collectively, the “Parties”)

together submit the following Joint Status Report:

    1. Plaintiff and XiMo, Inc., the third-party that Boston College has asserted has an exclusive

        license to U.S. Patent No. 9,938,253, which is the focus of this action, have recently

        engaged in negotiations in view of potentially resolving the present dispute between

        Plaintiff and Defendant.

    2. The Parties have been working in good faith over the past few months to reach an

        agreement, including multiple in-person meetings in Europe and have recently been

        exchanging terms for a potential settlement.

    3. Given this current status, the Parties believe than an additional sixty (60) day extension of

        the stay entered by this Court on July 29, 2024 (see Dkt. 83) would be appropriate.

    4. This Court has scheduled a Telephone Status Conference on March 4, 2025. The Parties

        are amenable to proceeding with or postponing the status conference, however the Court

        would prefer to proceed.


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Dated: February 25, 2025                        Respectfully Submitted,




                                                /s/ Ruben J. Rodrigues
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing document was filed with
the Court through the ECF system and that a copy will be electronically served on registered
participants as identified on the Notice of Electronic Filing.


Dated: February 25, 2025                                   /s/ Ruben J. Rodrigues
                                                           Ruben J. Rodrigues




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